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                                 UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF NEW YORK

                                 Petition for Admission, pursuant to Local Rule 83.1(a)




 TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF NEW YORK
 I submit the following personal statement for admission to the Bar of the U.S. District Court for the Northern District of New York.
 Personal Statement (Personal Information, Business Information, Good Standing, Education)
 Personal Information
 (Please enter your full name, including suffix, e.g. Sr., Jr., II, III, etc.)
 First Name:                                        Middle Name:                    Last Name:                                         Suffix:
Nathan                                            John                             McGrath
 Residence Address:


 City:                                              State:                         Zip:                            County:
                                                 Pennsylvania
 Business Information

 Affiliation/Firm:
The Fairness Center
 Address:
500 North Third Street, Suite 600B
 City:                                      State                                  Zip                             County
Harrisburg                                 Pennsylvania                            17101                          Dauphin
 E-Mail:
njmcgrath@fairnesscenter.org
 Title:                                                      Date of Employment:                      Firm Telephone:
President & General Counsel                              09/06/2016                                  844.293.1001
 Good Standing

 List jurisdictions & dates admitted & any attorney bar codes or state registration numbers.

Commonwealth of Pennsylvania, October 15, 2010, No. 308845
Supreme Court of the United States, January 21, 2014
United States Court of Appeals for the Fifth Circuit, May 16, 2015
United States Court of Appeals for the Third Circuit, June 5, 2019
United States
Have you       District
          ever been     Court for
                      convicted  of athe Western District
                                      misdemeanor           of Pennsylvania, December 13, 2010
                                                    or felony?                                                      Yes           No
United States District Court for the Middle District of Pennsylvania, November 18, 2016
United States
Are there      District Court
          any disciplinary      for the Eastern
                           proceedings   presentlyDistrict
                                                   pendingofagainst
                                                              Pennsylvania,
                                                                    you?    May 12, 2020                            Yes           No

 Have you ever been censured or suspended from practice before any court?                                           Yes           No

 Have you ever been denied admission or readmission to the bar of any court?                                        Yes           No

 If you answered “Yes” to any of the above questions, you must attach a separate
 statement explaining the nature of any such actions or proceedings.
 Education

 Name of Law School                                 Dates of Attendance            Type of Degree Received         Date Degree Received
 City and State where located                       From To (Month/Year)                                           or Expected
Regent University, Virginia Beach, VA             08/2007-05/2010 J.D.                                            05/02/2010




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 Are you currently or have you ever been a law clerk to a District Judge or Magistrate Judge? If yes, give name and title of Judge
 and specify dates and location:
n/a




 I have read and am familiar with: The Judicial Code (Title 28 U.S.C.); the Federal Rules of Civil Procedure and the Federal Rules
 of Evidence for the District Courts; the Federal Rules of Criminal Procedure for the District Courts; the Local Rules and
 General Orders for the Northern District of New York; and the N.Y.S. Rules of Professional Conduct and will faithfully adhere thereto.

 I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.


  s/ Nathan J. McGrath                                                             03/28/2022
 Signature                                                                         Date




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                                             United States District Court
                                            Northern District of New York

                                    NEW ATTORNEY E-FILING REGISTRATION FORM

  Enter your full name, as it will appear on your official Admission Certificate. Select your method of
      admission and enter the required information. Complete and sign the Oath on Admission.

                                                                                                     4S    +S
NAME: Nathan                               J.                        McGrath                         **     ***
                     First                     Middle                 Last

         67$1'$5'$DMISSION see L.R. 83.1(b)
         Applicants who DUHnot admitted to practice in the Federal Courts of New York.

         RECIPROCAL ADMISSION see L.R. 83.1(c)
         A member in good standing of the bar of the U.S. District Court for the Eastern, Western or Southern
         District of New York. [DECLARATION OF SPONSOR NOT REQUIRED]

         PRO HAC VICE ADMISSION see L.R. 83.1(d)
         Motion for Limited Admission Pro Hac Vice in                                  5:22-cv-261-GTS-ML
         Applicant required to file a Pro Hac Vice access request inPACER.                (casenumber)
         (PDLODGGUHVV njmcgrath@fairnesscenter.org

         FEDERAL GOVERNMENT A'0,66,21 see L.R. 83.1(e)
               Attorney appointed under 28 U.S.C. Section 541-543, or employed by the U.S.
                Government, who is admitted to practice in other Federal Districts
               Attorney in the employ of the United States Government who is not admitted
                in other Federal Districts [CERTIFICATE OF GOOD STANDING REQUIRED]

         SPECIAL ADMISSION CEREMONY Vcheduled on   /     /    in                           , NY.
         6SRQVRUHGE\WKH)HGHUDO&RXUW%DU$VVRFLDWLRQ>25'(5 '(&/$5$7,212)63216251275(48,5('@

         %,(11,$/5($'0,66,21 TO THE NORTHERN DISTRICT OF NEW YORK,1
         $&&25'$1&(:,7+/2&$/58/( D 


                                                         Oath on Admission

I,              NathanJ. McGrath             , do solemnly swear (or affirm) that as an attorney and
counselor of this Court, I will conduct myself uprightly and according to law and that I will support the
Constitution of the United States.


Dated:       3    /   28      /   2022




                                                                              Attorney Signature
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                                      UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF NEW YORK


_________________________________________________

                                                                                    DECLARATION
               Nathan J. McGrath
Petition of : ___________________________                                               OF
                                                                                      SPONSOR
_________________________________________________


STATE OF NEW YORK
COUNTY OF
                                       Albany
                  __________________________________



Craig W. Trainor                                       , being duly sworn, depose and say:


1.                                                                     The Fairness Center
             That I am an attorney associated with the law firm of _____________________________________,

             and am a member in good standing with the United States District Court for the Northern District of
                                                   513753
             New York. My NYND Bar Roll Number is: _____________________________.

2.                                                                    Nathan J. McGrath
             I make this Declaration in support of the admission of _____________________________________.

3.                         Nathan J. McGrath
             I have known ________________________________        November 2021
                                                           since ______________________________,

             and find him / her to be of high moral character and suitable for admission to the United States District

             Court for the Northern District of New York.

                                                        ~~~~~~

I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.

Dated this         28               , day of   March   , 20   22   .



                                                                            SPONSOR




w:\attyadm\Declaration_of_Sponsor
Form Date: 1/1/2018
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